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 1    UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
 2    ------------------------------x
                                               09-CR-00466(BMC)
 3    UNITED STATES OF AMERICA,
                                               United States Courthouse
 4                                             Brooklyn, New York

 5                -against-                    February 12, 2019
                                               9:30 a.m.
 6    JOAQUIN ARCHIVALDO GUZMAN
      LOERA,
 7
                  Defendant.
 8
      ------------------------------x
 9
                    TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
10                   BEFORE THE HONORABLE BRIAN M. COGAN
                         UNITED STATES DISTRICT JUDGE
11                              BEFORE A JURY

12    APPEARANCES

13    For the Government:          UNITED STATES ATTORNEY'S OFFICE
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24

25    (CONTINUED FOLLOWING PAGE)

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                                                                        7098


 1    (APPEARANCES CONTINUED)

 2

 3

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18
      Proceedings recorded by mechanical stenography.          Transcript
19    produced by computer-aided transcription.

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                                                                        7099
                                     VERDICT

 1                               (In open court.)

 2                THE COURTROOM DEPUTY:      All Rise.

 3                THE COURT:    Be seated.    We have received a note from

 4    the Jury that we've marked as Court Exhibit 16.          It says, "We

 5    have reached a verdict."       It is signed by Juror No. 11, the

 6    Foreperson.

 7                Is there any reason from the parties why I should

 8    not bring in the jury and receive the verdict?

 9                MS. PARLOVECCHIO:     No, your Honor.

10                MR. PURPURA:    No, your Honor.

11                THE COURT:    Let me say a couple of things to the

12    gallery first before I bring in the jury.          First of all, no

13    demonstrative reaction to the verdict, please, everyone

14    demonstrate proper decorum.

15                Second, those of you who chose to be in the

16    courtroom, at this point you're going to need to stay until I

17    discharge the jury.      I don't want everyone running for the

18    exits as soon as I start reading the verdict.          Make your

19    decision now, either you stay here or you can go to the

20    overflow courtroom and listen to it there.

21                Let's have the jury in, please.

22                (Jury enters the courtroom.)

23                THE COURT:    Everyone be seated.      Good morning,

24    ladies and gentlemen.      We have your note saying that you have

25    reached a verdict.

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                                                                        7100
                                     VERDICT

 1                Let me ask your Foreperson, Juror No. 11, is it

 2    correct that you have reached a unanimous verdict on all

 3    counts?

 4                THE FOREPERSON:     Yes.

 5                THE COURT:    Hand the verdict form to Ms. Clarke.

 6                Give me a moment to inspect the verdict form.

 7                All right, ladies and gentlemen, what I'm going to

 8    do now is referred to as publishing the verdict, that simply

 9    means I'm going to read it out loud.         It's very important that

10    you listen carefully as I read it because either side has the

11    right to ask me to ask each one of you individually if what

12    I've read does in fact represent your true and accurate

13    verdict.    So please attend while I read the verdict.

14                The verdict on Count One, engaging in a continuing

15    criminal enterprise, the Jury has checked guilty.

16                As to the Violations within that count, the Jury has

17    checked proven as to all Violations except Violation 18 and

18    24.

19                As to the questions following Count One, first, has

20    the Government proved beyond a reasonable doubt that at least

21    one Violation that you have determined to be proven involved

22    at least 150 kilograms of cocaine, the Jury has checked yes.

23                The second question, has the government proved

24    beyond a reasonable doubt that the Enterprise received

25    $10 million or more in gross receipts during at least one

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                                                                        7101
                                     VERDICT

 1    12-month period from the manufacture, importation or

 2    distribution of cocaine, the Jury has checked yes.

 3                On the third question, has the Government proved

 4    beyond a reasonable doubt that the defendant was one of

 5    several principal administrators, organizers or leaders of the

 6    enterprise, the Jury has checked yes.

 7                As to Count Two, international cocaine, heroin,

 8    methamphetamine and marijuana manufacture and distribution

 9    conspiracy, the Jury has checked guilty.

10                In response to the questions under that count.

11    First, has the Government proved beyond a reasonable doubt

12    that the offense involved 5 kilograms or more of cocaine, the

13    Jury has checked yes.

14                Question two, has the Government proved beyond a

15    reasonable doubt that the offense involved 1 kilogram or more

16    of heroin, the Jury has checked yes.

17                Question three, has the Government proved beyond a

18    reasonable doubt that the offense involved 500 grams or more

19    of methamphetamine, the Jury has checked yes.

20                The fourth question, has the Government proved

21    beyond a reasonable doubt that the offense involved

22    1,000 kilograms or more of marijuana, the Jury has checked

23    yes.

24                As to Count Three, the Jury's verdict is guilty.

25                The question, has the Government proved beyond a

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                                                                        7102
                                     VERDICT

 1    reasonable doubt that the offense involved 5 kilograms or more

 2    of cocaine, the Jury has checked yes.

 3                As to Count Four, the Jury has checked guilty.

 4                The question, has the Government proved beyond a

 5    reasonable doubt that the offense involved 5 kilograms or more

 6    of cocaine, the Jury has checked yes.

 7                As to Count Five, the Jury has checked guilty.

 8                The question under Count Five, has the Government

 9    proved beyond a reasonable doubt that the offense involved

10    5 kilograms or more of cocaine, the Jury has checked yes.

11                As to Count Six, international distribution of

12    cocaine, the Jury has checked guilty.

13                As to the question under Count Six, has the

14    Government proved beyond a reasonable doubt that the offense

15    involved 5 kilograms or more of cocaine, the Jury has checked

16    yes.

17                Count Seven, international distribution of cocaine,

18    the Jury has checked guilty.

19                As to the question under Count Seven, has the

20    Government proved beyond a reasonable doubt that the offense

21    involved 5 kilograms or more of cocaine, the Jury has checked

22    yes.

23                As to Count Eight, international distribution of

24    cocaine, the Jury has checked guilty.

25                As to the question under that count, has the

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                                                                        7103
                                     VERDICT

 1    Government proved beyond a reasonable doubt that the offense

 2    involved 5 kilograms or more of cocaine, the Jury has checked

 3    yes.

 4                As to Count Nine, use of firearms, the Jury has

 5    checked guilty.

 6                As to the questions under Count Nine, first, has the

 7    Government proved beyond a reasonable doubt that one or more

 8    of the firearms at issue in Count Nine was brandished, the

 9    Jury has checked yes.

10                Second, has the Government proved beyond a

11    reasonable doubt that one or more of the firearms at issue in

12    Count Nine was discharged, the Jury has checked yes.

13                Third, has the Government proved beyond a reasonable

14    doubt that one or more of the firearms at issue in Count Nine

15    was a machine gun, the Jury has checked yes.

16                As to Count Ten, conspiracy to launder narcotics

17    proceeds, the Jury has checked guilty.

18                The verdict form is signed by Juror No. 11.

19                Would either side like me to pole the Jury?

20                MR. PURPURA:    Yes, please pole the jury.

21                THE COURT:    Juror No. 1, is the verdict as I have

22    read it to you, does that represent your true and accurate

23    verdict?

24                JUROR NO. 1:    Yes.

25                THE COURT:    Juror No. 2?

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                                                                        7104
                                     VERDICT

 1                JUROR NO. 2:    Yes.

 2                THE COURT:    Juror No. 3?

 3                JUROR NO. 3:    Yes.

 4                THE COURT:    Juror No. 4?

 5                JUROR NO. 4:    Yes.

 6                THE COURT:    Juror No. 5?

 7                JUROR NO. 5:    Yes.

 8                THE COURT:    Juror No. 6?

 9                JUROR NO. 6:    Yes

10                THE COURT:    Juror No. 7?

11                JUROR NO. 7:    Yes.

12                THE COURT:    Juror No. 8?

13                JUROR NO. 8:    Yes.

14                THE COURT:    Juror No. 9?

15                JUROR NO. 9:    Yes.

16                THE COURT:    Juror No. 10?

17                JUROR NO. 10:    Yes.

18                THE COURT:    Juror No. 11?

19                JUROR NO. 11:    Yes.

20                THE COURT:    Juror No. 12?

21                JUROR NO. 12:    Yes.

22                THE COURT:    Is there any reason why I should not

23    discharge the jury?

24                MR. PURPURA:    No, your Honor.

25                MS. PARLOVECCHIO:      No, your Honor.

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                                                                        7105
                                     VERDICT

 1                THE COURT:    Ladies and gentlemen of the jury, I told

 2    you when I gave you the instructions for this case that I had

 3    no opinion on how you should decide this case, that remains

 4    the case.    I am not going to comment in any way on whether I

 5    think your opinion was right or wrong in any way.

 6                But what I do want to say to you and I have to

 7    commend you for this, in my nearly 13 years as a trial judge I

 8    have never seen a jury in a case this complicated pay the kind

 9    of attention and focus on detail and go through the

10    deliberations the way you did.        We're one of the few countries

11    in the world that trusts our citizens to make these important

12    kinds of decisions over other people's lives.          You have

13    demonstrated why we do that and why we have confidence in it.

14                Not with regard to the decision you reached, but the

15    way you went about it, was really quite remarkable; and

16    frankly, made me very proud to be an American.

17                As for the alternates, I don't think your time here

18    was wasted.    The level of tension when we don't have

19    alternates in a case like this, and the possibility of losing

20    a juror means the case have to start over, is really very

21    unpleasant.    So having the security of having you here really

22    was a great benefit.      I hope you found it interesting as well

23    to listen to the trial.

24                And I want to thank all of the Jury, the alternates

25    and the main Jury, for the excellent attention you paid

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                                                                        7106
                                     VERDICT

  1    throughout this case.      It was really just remarkable.

  2               The only other thing I'll say to you is we're going

  3    to continue to preserve your anonymity, the Court is not going

  4    to let that information out.       You can, if you want, my advice

  5    to you is that you not.      Once you open that door, it's very

  6    difficult to close it, everyone is going to want to ask you

  7    questions.    But you have the perfect right to do as you want.

  8    It's going to be your decision as to how you want to proceed

  9    from this point forward.      The information will not come from

 10    the Court.    I can assure you that it will not come from the

 11    lawyers.

 12               Thank you once again, we really appreciate it.          You

 13    are discharged.

 14               (Jury exits the courtroom.)

 15               THE COURT:    Everyone be seated.      The order of

 16    detention will continue.      Let's pick a tentative sentencing

 17    date for about 90 days out.

 18               COURTROOM DEPUTY:      June 25 at 10:00 a.m.

 19               THE COURT:    June 25 at 10:00 a.m. is an initial date

 20    for sentencing.     Anybody have a problem with that?

 21    (Continued following page.)

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                                                                        7107
                                     VERDICT

  1               MR. PURPURA:      No, your Honor.

  2               THE COURT:       Anything else to cover?

  3               MR. PURPURA:      No, thank you.

  4               MS. PARLOVECCHIO:       No, thank you.

  5               THE COURT:       Thank you.   All we are adjourned.

  6               (Whereupon, the matter was concluded.)

  7                            *      *    *     *    *

  8    I certify that the foregoing is a correct transcript from the
       record of proceedings in the above-entitled matter.
  9

 10    Rivka Teich, CSR RPR RMR FCRR
       Official Court Reporter
 11    Eastern District of New York

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